257 F.3d 58 (1st Cir. 2001)
    FAUSTINA DAVILA- ALVAREZ; RAMON FERNANDEZ-RAMIREZ; ROSA  ALVAREZ-OQUENDO; RAFAEL HERNANDEZ, Plaintiffs, Appellants,v.ESCUELA DE MEDICINA UNIVERSIDAD CENTRAL DEL CARIBE; HOSPITAL UNIVERSITARIO DR. RAMON RUIZ ARNAU (HOSPITAL REGIONAL DE BAYAMON);ESTADO LIBRE ASOCIADO DE PUERTO RICO; MUNICIPIO DE BAYAMON; DEPARTAMENTO DE SALUD ESTATAL; DR. EDMEE SOLTERO, FIRST PHYSICIAN; DR. RAMON MONGE, SECOND PHYSICIAN, Defendants, Appellees,v.SURGICAL GROUP ADMINISTRATION, Third-Party Defendant,UNITED STATES OF AMERICA, Co-Defendant, Appellee.
    No. 00-1847
    United States Court of Appeals For the First Circuit
    Submitted March 5, 2001Decided August 6, 2001
    
      Eugene F. Hestres, with whom Bird Bird &amp; Hestres, were on brief,  for appellants.
      Oscar Gonzalez-Badillo, with whom Gonzalez Badillo, Lopez  Feliciano &amp; De Jesus Martnez, were on brief, for appellee Escuela de  Medicina Universidad Central del Caribe.
      Leticia Casalduc-Rabell, Assistant Solicitor General, with whom Gustavo A. Gelp, Solicitor General, and Rosa N. Russe-Garca, Deputy  Solicitor General, were on brief, for appellee The Commonwealth of  Puerto Rico.
      Fidel A. Sevillano-del Ro, Assistant U.S. Attorney, with whom Guillermo Gil, United States Attorney, and Lisa E. Bhatia-Gautier,  Assistant U.S. Attorney, were on brief, for appellee United States of  America.
      Before Torruella, Circuit Judge, Campbell, Senior Circuit Judge, and Selya, Circuit Judge.
      TORRUELLA, Circuit Judge.
    
    
      1
      Plaintiffs-appellants1 Faustina  Davila-Alvarez, Ramon Fernandez, Rosa Alvarez-Oquendo and Rafael  Fernandez filed the tort action underlying this appeal in the Puerto  Rico courts on November 7, 1995.  It was removed to the federal  district court for the District of Puerto Rico on November 25, 1997. On April 12, 1998, plaintiffs' counsel, Jose Antonio Mendez Rodriguez  (Jose Mendez), died suddenly and unexpectedly.  His brother and law  partner, Roberto Mendez Rodriguez (Roberto Mendez), assumed  responsibility for the case.  After receiving no response to discovery  requests filed as early as February 1998, defendants moved for  dismissal for lack of prosecution.  The district court granted this  motion and dismissed with prejudice on December 14, 1998.  Plaintiffs,  represented by new counsel, sought relief from judgment under Federal  Rules of Civil Procedure 60(b)(1) and 60(b)(6).  The district court  denied this request.  Davila Alvarez v. Escuela de Medicina Universidad  Central del Caribe, Civ. No. 97-2793 (JAF) (D.P.R. Mar. 28, 2000). Finding that the district court did not abuse its discretion in  refusing to grant relief, we affirm.
    
    BACKGROUND
    
      2
      We present the procedural history of this litigation in some  detail, as it supports the district court's refusal to grant relief  from judgment.
    
    
      3
      On November 7, 1995, plaintiffs filed this medical  malpractice claim in Bayamon Superior Court, a Puerto Rico court of  first instance.  Jose Mendez, of the law firm of Mendez &amp; Mendez, was  counsel of record.  The firm's address was listed with the court as  Tropical #30, Munoz Rivera, Guaynabo, Puerto Rico.  On July 23, 1996,  Jose Mendez filed an Informative Motion in the Puerto Rico court noting  changes to the firm's street and mailing addresses.2  On November 25,  1997, co-defendant3 Dr. Susana Schwartz removed the case to federal  district court pursuant to 28 U.S.C. § 1442(a)(1), 28 U.S.C. § 2679(d),  and 42 U.S.C. § 233.4  The notice of removal was served to Jose Mendez  at his former address, Tropical #30.
    
    
      4
      Although the case had been removed to federal court and  dismissed from the Puerto Rico courts, Jose Mendez filed a second  Informative Motion in Bayamon Superior Court on January 13, 1998,  noting another change in the mailing address of Mendez &amp; Mendez, to  P.O. Box 270128, San Juan, Puerto Rico.  Counsel for defendants were  also served with notice of the new address.  On January 23, 1998, the  Bayamon Superior Court issued a Notice of Judgment to the correct Box  270128 address, informing Jose Mendez that judgment had issued, and the  case dismissed from the Bayamon court, as of December 11, 1997.  The  December 11, 1997 dismissal order clearly stated that the case was  dismissed under 28 U.S.C. § 1446, the federal removal statute.  As  appellants concede that Jose Mendez received the Notice of Judgment  from the Bayamon Superior Court on January 28, 1998, he was on notice  as of that date that the case had been dismissed from the Puerto Rico  courts because it had been removed to federal district court.
    
    
      5
      Also on January 23, 1998, the United States was substituted  as defendant for Dr. Schwartz pursuant to 28 U.S.C. § 2679.  Notice of  this substitution was sent by first-class mail to Jose Mendez at his  former address, Tropical #30.  On February 2, 1998, the United States  submitted a responsive pleading, which was again sent to the incorrect  Tropical #30 address.  On February 3 and February 4, 1998, the United  States sent interrogatories and filed a request for the production of  documents, again to the wrong address.  There is no evidence, for the  most part, that these documents ever arrived at Mendez &amp; Mendez.5
    
    
      6
      Because Jose Mendez was not admitted to practice before the  federal court, at some point in January or February of 1998, he contacted attorney Enrique Mendoza about the possibility of referring  the case.  The record shows only that Mendoza solicited research on a  relevant legal issue from a third attorney.6  On February 23, 1998,  Mendoza faxed the results of this research to Jose Mendez.  There is no  evidence in the record that Mendoza accepted the referral, and no  motion was filed informing the district court of a change of counsel. Jose Mendez also did not inform the district court at this point that  he was not admitted to the federal bar.
    
    
      7
      On April 12, 1998, Jose Mendez died suddenly and  unexpectedly.  Upon his death, Roberto Mendez assumed responsibility  for all of his current cases.  Roberto Mendez was also not admitted to  practice before the federal court.
    
    
      8
      On June 8, 1998, the district court issued a Scheduling Order  providing that the pleadings be finalized by July 17, 1998,  that  discovery be completed by October 8, 1998, and that any dispositive  motion be filed prior to November 9, 1998.  A pretrial conference was  scheduled for December 8, 1998.  It is unclear from the record whether  the Order was sent to Mendez &amp; Mendez at the Tropical #30 address or at  the correct Box 270128 address.7
    
    
      9
      On October 21, 1998, the United States filed a motion  requesting dismissal for want of prosecution, noting that its  interrogatories and requests for document production, propounded in  February of 1998, had gone unanswered, and that the time for discovery  set forth in the Scheduling Order had elapsed.  This motion was later  joined by co-defendant Escuela de Medicina.  Both motions were noticed  to the now-deceased Jose Mendez at his Tropical #30 address.  Counsel  for Escuela de Medicina also submitted an affidavit stating that he had  left more than a dozen phone messages for Roberto Mendez (both upon the  June receipt of the Scheduling Order and in the days prior to the  December pre-trial conference) that had gone unreturned.  On  December 8, 1998, the motion for dismissal was granted.  Judgment was  entered as of December 14, 1998.
    
    
      10
      Between Jose Mendez's death on April 12, 1998 and December  3, 1998, Roberto Mendez took no action regarding this case.  On  December 3, 1998, he forwarded a "cross-claimant complaint" to Mendoza. The same day, Mendoza responded that he "really [had] no interest in  participating in this case."  On December 15, 1998, a day after the  district court had entered judgment, Roberto Mendez asked the court for  a thirty day extension in order to find new representation for  plaintiffs.  In his request, Mendez claimed that until receiving  Mendoza's December 3 fax disclaiming any responsibility for the  litigation, it had been his understanding that Mendoza had assumed  representation prior to Jose Mendez's death.
    
    
      11
      New counsel for plaintiffs sought relief from judgment on  this basis in a Rule 60(b) motion filed January 19, 1999.  The district  court denied the motion in an Opinion and Order dated March 28, 2000. In particular, the court noted that: (i) Roberto Mendez had  inexplicably failed to notify the district court of the death of Jose  Mendez; (ii) instead of making the incorrect assumption that Enrique  Mendoza had assumed responsibility for the case, Roberto Mendez "should  have assured himself of this fact"; (iii) the multiple messages left by  defendants with the secretary at Mendez &amp; Mendez should have alerted  Roberto Mendez to the imminent expiration of the time for discovery;  (iv) although the Rule 60(b) petition focused on the incorrect address  used by defendants (and perhaps the court), at no point did appellants'  counsel affirmatively state that Mendez &amp; Mendez had failed to receive  the relevant motions and notices at the firm's new address; and (v)  Jose Mendez should have filed a change of address form with the federal  court after receiving notice of removal.  A subsequent request for  reconsideration was denied on May 25, 2000.  This appeal followed.
    
    DISCUSSION
    
      12
      Federal Rule of Civil Procedure 60(b)(1) allows the court to  relieve a party from a final judgment for "mistake, inadvertence,  surprise, or excusable neglect."  As motions brought under Rule 60(b)  are "committed to the court's sound discretion," we review here only to  determine if the district court abused its discretion in refusing to  grant appellants' motion.  Torre v. Continental Ins. Co., 15 F.3d 12,  14-15 (1st Cir. 1994).  Although many courts have indicated that Rule  60(b) motions should be granted liberally,8 this Circuit has taken a  harsher tack.  "Because Rule 60(b) is a vehicle for 'extraordinary  relief,' motions invoking the rule should be granted 'only under  exceptional circumstances.'"  Id. (quoting Lepore v. Vidockler, 792  F.2d 272, 274 (1st Cir. 1986)).  The rule must be applied so as to  "recognize the desirability of deciding disputes on their merits,"  while also  considering "the importance of finality as applied to court  judgments."  Teamsters, Chauffeurs, Warehousemen &amp; Helpers Union, Local  No. 59 v. Superline Transp. Co., 953 F.2d 17, 19-20 (1st Cir. 1992). Although these authorities must now be read with the gloss supplied by  the Supreme Court in Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd.  P'ship, 507 U.S. 380 (1993), they still remain instructive.9
    
    
      13
      Appellants argue that Jose Mendez's death, Roberto Mendez's  belief that the case had been transferred to Enrique Mendoza, and the  fact that many of the motions and notices were sent to the incorrect  address make their failure to prosecute "excusable neglect."   Our  evaluation of what constitutes excusable neglect is an equitable  determination, taking into account the entire facts and circumstances  surrounding the party's omission, including factors such as the danger  of prejudice to the non-movant, the length of the delay, the reason for  the delay, and whether the movant acted in good faith.  Id. at 395. After considering the facts at issue here, we conclude that the neglect  exhibited -- both by Jose Mendez before his death and by Roberto Mendez  afterwards -- could fairly be termed inexcusable, and therefore that  the district court did not abuse its discretion in denying the Rule  60(b) motion.  See Ojeda-Toro v. Rivera-Mendez, 835 F.2d 25, 30 (1st  Cir. 1988) (changes in counsel do not relieve litigant from liability  for previous counsel's inexcusable neglect).
    
    
      14
      First, before his death, Jose Mendez inexcusably failed to  communicate with the federal district court, or keep the court  appraised of the status of the case.  He had, since at least  January 28, 1998, been on notice that the case had been removed from  the Puerto Rico courts to the federal district court.  At no point  after that date did Mendez inform the court that he was not admitted to  federal practice.  Although he was aware that his second change of  address, to Box 270128, had been filed with the Bayamon court after  that court had dismissed the case, he failed to inform the federal  court of his new address.  Jose Mendez also failed to respond to  interrogatories and discovery requests sent in February of 1998  (although it is possible that he never received these requests, or did  not receive them in a timely fashion, due to the incorrect address used  by defendants).
    
    
      15
      In short, between the time he received notice of the removal  of this case in January 1998 and his death in April 1998, Jose Mendez  did virtually nothing to indicate his active prosecution of the case,  other than contact Mendoza about the possibility of referral.  An  attorney has a duty of diligence to inquire about the status of a case. Pryor v. United States Postal Serv., 769 F.2d 281, 287 (5th Cir. 1985). Moreover, it is an attorney's responsibility to alert the court as to  scheduling conflicts, and to explain absences or failures to appearin  a timely fashion.  Kagan v. Caterpillar Tractor Co., 795 F.2d 601, 608  (7th Cir. 1986).  The failure to do so need not be excused under Rule  60(b)(1).  Id.; cf. Torre, 15 F.3d at 15 (litigant's failure to take  simple step of alerting court to ongoing negotiations and request  postponement of imminent deadlines was inexcusable neglect).
    
    
      16
      Appellants make little or no attempt to explain the neglect  on the part of Jose Mendez, other than noting that he was not notified  of the removal to federal district court until approximately two months  after it was filed, and that defendants sent post-removal notices to  the wrong address.  These two facts do not automatically excuse his  inexplicable refusal to conduct ordinary communication with the federal  court.  Certainly, the correspondence between Jose Mendez and Enrique  Mendoza, dated February 23, 1998, makes it evident that Jose Mendez was  by February fully aware that the case had been removed to federal  court, and that he had received at least the January 23, 1998 notice  (originally sent to the incorrect address) that the United States had  substituted as a party.10
    
    
      17
      Second, Roberto Mendez's incorrect "assumption" that Enrique  Mendoza had assumed responsibility for the representation was  inexcusable negligence.  We sympathize with the fact that Jose Mendez's  death was an undoubtedly disruptive event at Mendez &amp; Mendez as well a  difficult personal loss for Roberto Mendez.  However, a lawyer's duty  of diligence transcends both upheaval at work and personal tragedy. See Pioneer, 507 U.S. at 398 ("In assessing the culpability of  respondents' counsel, we give little weight to the fact that counsel  was experiencing upheaval in his law practice at the time of the bar  date."); Miranda v. Am. Airlines, 176 F.R.D. 438, 440-41 (D.P.R. 1998)  (personal problems of counsel do not constitute excusable neglect). Again, an attorney has an ongoing responsibility to inquire into the  status of a case.  Pryor, 769 F.2d at 287.  Roberto Mendez was not  relieved of this responsibility because the case came to him after his  brother's untimely death; if anything, his lack of familiarity with the  litigation indicated a greater duty to ensure no deadlines were missed. Finally, having examined the record, we note that Mendez's claimed  assumption was not a particularly reasonable one: the fact that Mendoza  had relayed a memorandum of law to Jose Mendez suggests that Mendez &amp;  Mendez still bore some responsibility for the litigation; the case file  remained at the firm; there was no documentation of a change in  counsel; and there was no record that Jose Mendez had informed the  district court of any change in representation.
    
    
      18
      Appellants' reliance on the incorrect address used by  defendants (and perhaps by the district court) is unavailing for  several reasons.  First, as we explained above, Jose Mendez's failure  to communicate with the district court or alert defendants that they  were using the incorrect address is at least partly to blame for  defendants' continued use of Tropical #30.  Second, appellants do not  challenge the representation that defendants had made over a dozen  phone calls to Roberto Mendez's office regarding the failure to respond  to discovery.  Mendez admitted that he returned only one phone call  because it was difficult for him to return phone calls during business  hours.  Third, as the district court noted, Davila Alvarez, Civ. No.  97-2793 (JAF), at 5-6, appellants' assertion that Mendez &amp; Mendez did  not receive notices in a timely manner (if at all) is not entirely  credible.  The record supports the inference that Jose Mendez received  at least the United States' motion to substitute as a defendant. Furthermore, at no point has any lawyer associated with Mendez &amp; Mendez  stated in an affidavit that the firm never received the relevant  documents.  Although appellants claim, truthfully, that there is no  evidence in the record that the documents were received, if any such  evidence existed, it would be in the care of Mendez &amp; Mendez.
    
    
      19
      Even if Mendez &amp; Mendez never received many of the relevant  motions or notices from either defendants or the district court, we  think the facts in this case support the district court's holding. First, the record compels the conclusion that Jose Mendez was on notice  of the removal of the case to federal court by January 28, 1998. Second, once so informed, the confusion as to the correct firm address  did not relieve either Mendez brother of his responsibility to inform  the district court of the correct address and the fact that he was not  admitted to the federal bar.  Upon his brother's death, Roberto Mendez  had a duty to make appropriate inquiries as to the status of the case,  either by ensuring that replacement representation was in place or by  finding such representation.  And at the very least, Roberto Mendez  should have returned the phone calls of opposing counsel.  In short,  Jose Mendez failed to undertake ordinary matters of diligent  representation and Roberto Mendez ignored the case for almost eight  months based on an incorrect and unreasonable assumption; such overt  neglect is hardly excusable even if a lawyer is preoccupied with other  matters.  Torre, 15 F.3d at 15; Pinero Schroeder v. Fed. Nat'l Mortgage  Ass'n, 574 F.2d 1117, 1118 (1st Cir. 1978) (attorneys must organize  their work so as to meet the time requirements of the matters they are  handling).
    
    
      20
      The other equitable factors do not point in appellants'  favor.  This is not a case where a litigant missed deadlines by hours  or days.  Cf. Denman v. Shubow, 413 F.2d 258, 259 (1st Cir. 1969)  (counsel overslept and missed trial, but acted promptly to remedy the  situation).  Roberto Mendez missed every discovery deadline and ignored  the existence of a pre-trial conference.  Furthermore, almost eight  months passed between Jose Mendez's death and Roberto Mendez's attempts  to remedy the situation.  Finally, Roberto Mendez's failure to perform  simple acts of courtesy such as returning opposing counsel's phone  calls in a timely fashion calls his good faith seriously into question.
    
    
      21
      Appellants make a final plea that to dismiss the case based  on counsel's inexcusable conduct would work an unjust penalty on the  litigants.  The Supreme Court has clearly disavowed such an argument:
    
    
      22
      There is certainly no merit to the contention  that dismissal of petitioner's claim because of  his counsel's unexcused conduct imposes an unjust  penalty on the client.  Petitioner voluntarily  chose this attorney as his representative in the  action, and he cannot now avoid the consequences  of the acts or omissions of this freely selected  agent.  Any other notion would be wholly  inconsistent with our system of representative  litigation, in which each party is deemed bound  by the acts of his lawyer-agent and is considered  to have "notice of all facts, notice of which can  be charged upon the attorney."
    
    
      23
      Link v. Wabash R.R. Co., 370 U.S. 626, 633-34 (1962) (quoting Smith v. Ayer, 101 U.S. 320, 326 (1879)); see also Pioneer, 507 U.S. at 396  (citing Link).
    
    
      24
      Appellants also seek relief under Rule 60(b)(6), which allows  a court to grant relief for "any other reason [so] justifying."  Rules  60(b)(1) and 60(b)(6) are mutually exclusive, however, meaning that  appellants are not entitled to relief under (b)(6) for claims of  excusable neglect.  Pioneer, 507 U.S. at 393; Liljeberg v. Health  Servs. Acquisition Corp., 486 U.S. 847, 863 &amp; n.11 (1988).  Moreover,  to justify relief under Rule 60(b)(6), "a party must show  'extraordinary circumstances' suggesting that the party is faultless in  the delay."  Pioneer, 507 U.S. at 393; Ackerman v. United States, 340  U.S. 193, 197-200 (1950); Klapprott v. United States, 335 U.S. 601,  613-14 (1949).  As we have explained at length, both Jose Mendez and  Roberto Mendez were far from faultless in their conduct.
    
    
      25
      Appellants end with a last-ditch jurisdictional argument. In  their reply brief, they admit that they failed to fulfill the  jurisdictional prerequisite of pursuing administrative remedies prior  to filing a claim under the FTCA.  They argue that this failure robbed  the district court of subject matter jurisdiction to enter judgment,  and that we should direct the court to void the judgment and remand to  the Puerto Rico courts.  Given that this issue was not raised before  the district court, and briefed only marginally here, we are loath to  address it at any length.  We confine ourselves to two observations. First, a failure to comply with the exhaustion requirement would not  affect the district court's jurisdiction over the action as a whole  (and to the extent that it might have furnished an argument for remand,  that argument was waived by plaintiffs' failure to make a timely motion  to that effect).  Second, the exhaustion requirement is, in all events,  intended for the government's protection, and, like most other  exhaustion requirements, can be waived by the intended beneficiary. Since it is the plaintiffs, not the federal defendant, who attempt to  invoke exhaustion here, we conclude that the waiver doctrine applies  and that there was no jurisdictional impediment to the entry of  judgment below.
    
    
      26
      Affirmed.
    
    
      
        Notes:
      
      
        1
           Throughout the opinion we refer to plaintiffs-appellants Davila-Alvarez, et. al., as either "plaintiffs" or "appellants" depending on  the stage of the litigation at issue.
      
      
        2
           The new street address was 1848 Glasgow Avenue, College Park, Rio  Piedras, Puerto Rico.  The new mailing address was P.O. Box 70150,  Suite 128, San Juan, Puerto Rico.
      
      
        3
           There is some dispute as to whether Dr. Schwartz should be considered  a co-defendant or a third-party defendant; for purposes of this appeal,  the distinction is irrelevant.
      
      
        4
           Schwartz did so as an officer of the United States Department of  Health and Human Services who had obtained a certification from the  United States Attorney that she was acting within the scope of her  federal employment at the time of the conduct complained of.
      
      
        5
           There is strong circumstantial evidence that Jose Mendez received at  least the notice informing him of the United States' substitution as a  defendant in a timely fashion.  His correspondence with Enrique Mendoza  in early 1998 presented a fact scenario based on such a substitution. See infra at n.10.
      
      
        6
           After removing the case, the United States had claimed that the suit  was barred for failure to pursue administrative remedies required under  the Federal Tort Claims Act (FTCA).  Mendoza had asked attorney Lisa  Drucker Shub to research whether, in a case where a plaintiff was  unaware of defendant's federal employment status prior to removal, the  statute of limitations acted to bar an administrative claim.
      
      
        7
           A copy of the civil docket included in the appendices indicates that,  as of July 11, 2000, the district court had the Tropical #30 address on  file for Jose Mendez and the P.O. Box 270128 on file for both the law  firm Mendez &amp; Mendez and for Roberto Mendez.
      
      
        8
           See, e.g., Solaroll Shade &amp; Shutter Corp. v. Bio-Energy Sys., Inc.,  803 F.2d 1130, 1132 (11th Cir. 1986); Blois v. Friday, 612 F.3d 938,  940 (5th Cir. 1980); Radack v. Norwegian Am. Line Agency, Inc., 318  F.2d 538, 542 (2d Cir. 1963); 11 Wright, Miller &amp; Kane, Federal  Practice &amp; Procedure, § 2852, at 231 (1995).
      
      
        9
           Although Pioneer defined "excusable neglect" in the context of  Bankruptcy Rule 9006(b)(1), the case expressly indicated that the  Bankruptcy Rule definition paralleled that of Federal Rule of Civil  Procedure 60(b)(1).  Pioneer, 507 U.S. at 393.
      
      
        10
           Drucker Shub's memorandum, attached to Mendoza's fax, posits a  factual scenario "where a plaintiff files his or her claim in state  court only later to have it removed to federal court, and the United  States is substituted as party defendant."  Mendez had apparently been  aware of these relevant facts and briefed Mendoza on them.
      
    
    